Case 2:05-cv-02444-.]DB-dkv Document 2 Filed 06/27/05 Page 1 of 3 Page|D 1

sta;;;n

IN THE UNITED STATES DISTRICT COURT

 

FOR THE wEsTERN DIsTRICT oF TENNESSEEUSJUHZ? AHii,@

WESTERN DIVISION

F'-§L“}E\"..\:'f"§' 1:'1. §§ 'f"\C'L!O
CL_EJ:'.}_(, US E":;‘ ZT' ¢“'"T
l./"J.L). UF `."`.'\Il ,",'j;-_-_f'dr;_;jHiS

THANGHKAO SYSENGLATH,
Petitioner,

vs. No. 05~2444~B/V

T . C . OUTLAW,

Respondent.

>-<>'<><>-<>-<>-<>-<>-<>'<>-<>-<

 

ORDER DIRECTING PETITIONER TO FILE AN g F`ORMA PAUPERIS AFFIDAVIT
OR PAY THE HABEAS FILING FEE

 

Petitioner Thangkhao Sysenglath, Bureau of Prisons inmate
registration number 06550-030, an inmate at the Federal
Correctional Institution in Memphis (“FCI-Memphis), filed a pro §§
petition pursuant to 28 U.S.C. § 2241 on June 20, 2005. The Clerk
shall record the respondent as FCI-Memphis warden T.C. Outlaw.

A habeas petition carries a filing fee of five dollars
($5.00). 28 U.S.C. § 1914(a). Sysenglath’s petition is not
accompanied by either the filing fee or a motion to proceed in
fg;m§_pauperis. Accordingly, Sysenglatb.is ORDERED either to submit
a properly completed in forma pauperis affidavit demonstrating his
indigency, along with an inmate trust fund account statement, or

pay the filing fee thirty (30} days of the entry of this order. The

conunwnce
~nent entered on the docket eh:a§t \r:
. l v
Tms dow d!or?§{a) FRCP on h 2 f?=)

with F\u\e 53 an

Case 2:05-cv-O2444-.]DB-dkv Document 2 Filed 06/27/05 Page 2 of 3 Page|D 2

Clerk is ORDERED to mail a copy of the prisoner in forma pauperis
affidavit to petitioner along with this order.l Failure to timely
comply with any requirement of this order will result in dismissal
of the petition without further notice for failure to prosecute.

IT IS SO ORDERED this hday Of June, 2005

dba

ANIEL BREEN
UNI ED STATES DISTRICT JUDGE

 

l In the interest of expediting this matter, petitioner is advised
thatr if his inmate trust fund account has a balance of at least twenty-five
dollars ($25. 00}, an application to proceed in forma pauperis will be denied.

2

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02444 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Thangkhao Sysenglath

Federal Corrctional lnstitutional
06550-030

BoX 34550

l\/lemphis7 TN 38184

Honorable J. Breen
US DISTRICT COURT

